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15   UNITED STATES OF AMERICA

16                           UNITED STATES DISTRICT COURT

17                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

18   UNITED STATES OF AMERICA,                No. SA CR 20-00146(A)-DOC
19              Plaintiff,                    GOVERNMENT’S REPLY IN SUPPORT OF
                                              ITS EX PARTE APPLICATION FOR
20                    v.                      (1) CONTINUANCE TRIAL DATE AS TO
                                              DEFENDANT JASON FONG, AND
21   JASON   FONG,                            (2) FINDINGS OF EXCLUDABLE TIME
       aka   “asian_ghazi,”                   PERIODS PURSUANT TO SPEEDY TRIAL
22     aka   “Jason Asian Ghazi,”             ACT
       aka   “Mustafa Ahmed Al-Hakim,”
23

24
                Defendant.
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26
27         Plaintiff United States of America, by and through its counsel
28   of record, the United States Attorney for the Central District of
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1    California and Assistant United States Attorneys Christine M. Ro and

2    Solomon Kim, and National Security Division Counterterrorism Section

3    Trial Attorney John Cella, hereby files this Reply in support of its

4    ex parte application to continue the trial date and for findings of

5    excludable time periods pursuant to the Speedy Trial Act.            The

6    government makes this filing to ensure that the record is clear and

7    to correct several inaccuracies set forth in defense counsel’s filing

8    in response to the government ex parte application (see dkt. 228).

9          1.    On March 9, 2023, the government spoke with defense counsel

10   (Ms. Karren Kenney and Mr. Charles Swift) on a conference call.

11   During the call, among other matters, the government informed defense

12   counsel that it intended to request a continuance of the trial date

13   due, in part, to the pending review and potential disclosure of

14   classified information.      To that end, the government asked defense

15   counsel for their position with respect to the government’s request.

16   In response, Mr. Charles Swift informed the government that the

17   defense took no position regarding the government’s request because

18   the defense did not know the nature of the classified information.
19   Mr. Swift then asked the government for additional time to confer

20   with Ms. Kenney in private before providing the government with its

21   final position on the government’s request.

22         2.    Later that day, the government spoke again with defense

23   counsel on a subsequent conference call.         During the call, Mr.

24   Charles Swift confirmed to the government that the defense took no

25   position regarding the government’s continuance request.            The

26   government then requested defense counsel to provide the government
27   with a list of defense counsel’s scheduling conflicts, including

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1    their upcoming trial dates, so that the government could request a

2    new trial date when all counsel would likely be available.

3          3.    The next day, on March 10, 2023, the government emailed

4    defense counsel to inform them that it intended to state the defense

5    position regarding the government’s continuance request as follows:

6          “Defense counsel for defendant represent that they cannot take a

7          position to the government’s request, because they do not know

8          the nature and circumstances of the classified

9          information.    However, defense counsel represents that they have

10         the following schedule:”

11   The government asked defense counsel to notify the government if it

12   had any objections to the aforementioned representation.

13         4.    Shortly thereafter, Ms. Kenney responded via email and

14   stated the following:

15         I suggest:

16         ‘Defense counsel takes no position and desires to preserve any

17         and all potential appellate issues.        If the court forces a

18         continuance, defense counsel has the following scheduling
19         conflicts’

20   (emphasis added).

21         5.    Several minutes later, at approximately 6:39 p.m. PST, the

22   government responded to Ms. Kenney’s via email informing both defense

23   counsel that it intended to represent the defense position as

24   follows:

25         “Defense counsel have informed the government that they take no

26         position on the government’s ex parte application for a trial
27         continuance.    Defense counsel are scheduled to be in trial and

28         hearings on the following dates.”

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1    In the same email, the government informed defense counsel that they

2    could respond to the government’s ex parte application in their own

3    filing if they chose to do so.

4          6.    At approximately 6:57 p.m. PST, Ms. Kenney responded via

5    email stating that the government’s stated language did not

6    accurately reflect the defense position.         Ms. Kenney stated that she

7    did not want the Court in any way to think that the defense agreed

8    with the government’s continuance request.         Ms. Kenney went on to

9    state in her email that “[w]e are taking no position because we do

10   not know the true facts surrounding this disclosure issue.            Depending

11   on what those true facts actually are, we may object” (emphasis

12   added).

13         7.    Several minutes later, at approximately 7:02 p.m. PST, in

14   an email to government counsel, Solomon Kim, Mr. Swift responded to

15   the government’s 6:39 p.m. PST email in which it informed defense

16   counsel that it would represent the defense position as taking “no

17   position.”    In his email, Mr. Swift replied, “Looks good to me.

18   Thank you for confirming.”
19         8.    Subsequent to Mr. Swift’s email, the defense counsel never

20   informed the government of any change in its position with respect to

21   the government’s continuance request.

22         9.    On March 13, 2023, the government filed its ex parte

23   application requesting a continuance of the trial date in which it

24   represented that defense counsel “currently take no position”

25   regarding the government’s continuance request.

26         10.   As made clear by the aforementioned communications with the
27   defense in which defense counsel repeatedly informed the government

28   that it took “no position” regarding the government’s continuance

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1    request, the government correctly and accurately represented the

2    defense position in its ex parte filing with the Court.            Ms. Kenney’s

3    representations and claims to the contrary are inaccurate and belied

4    by the underlying record, including the last communication from Mr.

5    Swift, Ms. Kenney’s co-counsel.

6     Dated: March 14, 2023                Respectfully submitted,

7                                          E. MARTIN ESTRADA
                                           United States Attorney
8                                          ANNAMARTINE SALICK
                                           Assistant United States Attorney
9                                          Chief, National Security Division

10
                                                 /s/
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                                           CHRISTINE M. RO
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13                                         Attorneys for Plaintiff
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